                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                 LYNCHBURG DIVISION


 JOHN DOE,                                              )
                                                        )
                        Plaintiff,                      )
 v.                                                     )   Civil Action No. 6:19-CV-00023
                                                        )
 WASHINGTON AND LEE UNIVERSITY                          )
                                                        )
                        Defendants.                     )


      JOINT MOTION FOR EXTENSION OF TIME TO FILE ANSWER, MOTION TO
              DISMISS, AND OPPOSITION TO MOTION TO DISMISS

        Defendant Washington & Lee University (“W&L”) respectfully requests a three-week

 extension on its deadline to file an Answer and Motion to Dismiss in response to Plaintiff John

 Doe’s (“Doe”) Complaint (Doc. 1). Plaintiff John Doe, in turn, requests a one-week extension

 on its deadline to respond to W&L’s Motion to Dismiss. This motion more completely covers

 the same issues addressed in Plaintiff’s Unopposed Motion for Extension of Time filed on June

 18, 2019 (Doc. 7). In support of these requests, the parties aver as follows:

        1.      Doe filed a Complaint against W&L on April 23, 2019.


        2.      Pursuant to W&L’s acceptance of Doe’s Waiver of Service of Summons, W&L

 must file its responsive pleadings on June 24, 2019.


        3.      In addition to answering Doe’s Complaint, W&L intends to file a Rule 12(b)(6)

 Motion to Dismiss some of Doe’s claims.




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        4.      Doe’s General Counsel is necessary to W&L’s completion of its Answer and Rule

 12(b)(6) motion but has been and continues to be with her mother in hospice care outside of

 Virginia.


        5.      Therefore, W&L requests a three-week extension, until July 8, 2019, to allow its

 General Counsel to handle her family issues while contributing as necessary to W&L’s

 completion of its responsive pleadings.


        6.      This Court’s standard pretrial order allows parties 14 days to respond to motions.


        7.      In light of the extension W&L requests for its responsive pleading, the parties

 jointly request that the Court grant Doe an additional seven days (or 21 days total), to July 29,

 2019, to respond to W&L’s Motion to Dismiss.


        WHEREFORE, the parties respectfully request that the Court enter the accompanying

 order approving the parties’ extension requests.


 Dated: June 19, 2019                         Respectfully submitted,

                                              WASHINGTON & LEE UNIVERSITY

                                               By:   /s/

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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of June 2019, a true copy of the foregoing was filed
 with the Court using the CM/ECF system, which will send notification of such filing to the
 following:

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